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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )
                                           )                  8:05CR70
      vs.                                  )
                                           )                   ORDER
LOUIS BROGDON,                             )
                                           )
                    Defendant.             )



      This matter is before the court on defendant’s unopposed MOTION TO EXTEND
PRETRIAL MOTION DEADLINE [39]. For good cause shown, I find that the motion should
be granted. The defendants will be given an approximate 7-day extension. Pretrial
motions shall be filed by May 20, 2005.

      IT IS ORDERED:

      1.     Defendant’s MOTION TO EXTEND PRETRIAL MOTION DEADLINE [39] IS granted.
Pretrial motions shall be filed on or before May 20, 2005.

       2.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between May 13,
2005 and May 20, 2005, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendants’ counsel
required additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).

      DATED May 13, 2005.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
